        Case 3:19-mc-00056-VLB Document 7 Filed 07/26/19 Page 1 of 4



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


 MATTHEW JONES,                           :
                                          :
       Plaintiff,                         :        No. 3:19-MC-56 (VLB)
                                          :
       v.                                 :
                                          :             July 26, 2019
 YALE UNIVERSITY ET AL,                   :
                                          :
       Defendants.                        :
                                          :
                                          :

                     RULINGS AND ORDER DISMISSING CASE

      Before the Court is Plaintiff's Motion to Reconsider Petitions and Motions for

Pre-Filing Depositions. This action was commenced on April 22, 2019, by Plaintiff

Matthew Jones (“Plaintiff” or “Jones”) proceeding pro se. Plaintiff’s filings include

a case caption naming as defendants Yale University and the Attorney General for

the State of Connecticut. Plaintiff seeks to depose Dr. Luis David, Google Inc., and

IBM Corporation. Plaintiff has filed numerous lawsuits in this Court including,

Jones v. State of Connecticut Superior Court et al, No. 17-CV-599 (MPS) and Jones

v. Yale University, No. 18-CV-1325 (VLB). Both cases were dismissed, and Plaintiff

appealed. Plaintiff has no other outstanding actions before this Court.

      Plaintiff brings the current action pursuant to Federal Rule of Civil Procedure

27. Rule 27(a) states in relevant part:

      (1) Petition. A person who wants to perpetuate testimony about any
      matter cognizable in a United States court may file a verified petition
      in the district court for the district where any expected adverse party
      resides. The petition must ask for an order authorizing the petitioner
      to depose the named persons in order to perpetuate their testimony.
      The petition must be titled in the petitioner's name and must show:

                                              1
         Case 3:19-mc-00056-VLB Document 7 Filed 07/26/19 Page 2 of 4




      (A) that the petitioner expects to be a party to an action cognizable in
      a United States court but cannot presently bring it or cause it to be
      brought;

      (B) the subject matter of the expected action and the petitioner's
      interest;

      (C) the facts that the petitioner wants to establish by the proposed
      testimony and the reasons to perpetuate it;

      (D) the names or a description of the persons whom the petitioner
      expects to be adverse parties and their addresses, so far as known;
      and

      (E) the name, address, and expected substance of the testimony of
      each deponent.

Fed. R. Civ. P. 27(a). “Rule 27 applies where testimony or evidence might be lost

to a prospective litigant, requiring an immediate taking of the deposition to

preserve it for future use . . . and a court, within its sound discretion, may grant an

order to take a deposition if it is satisfied that a failure or a delay of justice may

thereby be prevented.” In re Yamaha Motor Corp., 251 F.R.D. 97, 98-99 (N.D.N.Y.

2008) (internal citations and quotation marks omitted).

      “In order to prevail on their Rule 27 petition, the petitioners must satisfy three

elements. First, they must furnish a focused explanation of what they anticipate

any testimony would demonstrate. Such testimony cannot be used to discover

evidence for the purpose of filing a complaint. Second, they must establish in good

faith that they expect to bring an action cognizable in federal court, but are

presently unable to bring it or cause it to be brought. Third, petitioners must make

an objective showing that without a Rule 27 hearing, known testimony would

otherwise be lost, concealed or destroyed.” In re Petition of Allegretti, 229 F.R.D.



                                          2
         Case 3:19-mc-00056-VLB Document 7 Filed 07/26/19 Page 3 of 4



93, 96 (S.D.N.Y. 2005). For the following reasons, Plaintiff cannot satisfy any of

these elements and his Motion must be denied.

      First, Plaintiff cannot meet the first element because he has not set forth the

facts he wants to establish by the proposed testimony and the reasons to

perpetuate it. Fed. R. Civ. P. 27(a)(1)(C). Plaintiff claims Dr. David could “attest to

childhood mistreatments, poisonings, rapes, molestations, and other counts of

pedophilia, wounds, and attempted murders committed against [him] by named

Defendants in previous lawsuits and to claims which the court has in libel

described as ‘delusional or fantastic factual scenarios.’” Plaintiff does not explain

the facts he would like to establish through a deposition of Google Inc. He states

that Google Inc. has “established a constant surveillance” of the United States and

he would like “the atrocities that [he has] experienced by the will of defendants

who [he has\ named and [has yet] to name to be included as evidence by the power

of actually watching the event.” Similarly, with IBM Corporation, Plaintiff states he

“would like permission of IBM to gain the recording of his] own life in response to

past and future complaints filed by me which in the past have been dismissed by

the court.” These recitations do not set forth any specific facts or the reason to

preserve them. Therefore, Plaintiff fails to meet the first element.

      Next, Plaintiff does not, and cannot, establish in good faith that he expects

to bring an action cognizable in federal court, but is presently unable to bring it or

cause it to be brought. As explained above, Plaintiff’s previous cases have been

dismissed as futile and his motions to reopen have been denied. The current action

appears to be based on the same allegations as the prior two actions. See Ruling



                                          3
        Case 3:19-mc-00056-VLB Document 7 Filed 07/26/19 Page 4 of 4



and Order, Jones v. State of Conn. Super. Ct. et al, No. 3:17-cv-599 (D. Conn. May

25, 2017), Dkt. No. 7; see also Ruling and Order, Jones v. Yale University, No. 3:18-

cv-1325 (D. Conn. Aug. 31, 2018); Dkt. 9. Plaintiff claims Defendants abused him,

sexually assaulted him, and attempted to murder him. The Court has already found

that these claims fail to state claims upon which relief can be granted, are barred

by res judicata, and are time-bared. See also Ruling and Order, Jones v. Yale

University, No. 3:18-cv-1325 (D. Conn. Aug. 31, 2018); Dkt. 9. For these reasons,

Plaintiff also fails to meet the second element. Lastly, Plaintiff cannot meet the

final element because he wholly fails to allege that without a Rule 27 hearing,

known testimony would otherwise be lost, concealed, or destroyed.

      For the foregoing reasons, Plaintiff’s Motion to Reconsider Petitions and

Motions for Pre-Filing Depositions is DENIED.       In light of this disposition of

Plaintiff’s Motion, his Motion for Leave to Proceed in forma pauperis is moot and

also DENIED. The Clerk is directed to close this file.


                                             IT IS SO ORDERED.


                                                               Vanessa Bryant
                                                               2019.07.26 09:22:36 -04'00'

                                             Hon. Vanessa L. Bryant
                                             United States District Judge


Dated at Hartford, Connecticut: July 26, 2019.




                                         4
